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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

KEVIN MCDONALD,

      Plaintiff,

v.
                                                  CASE NO.:
DIRECTV, LLC,

       Defendant.
                                       /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, Kevin McDonald, by and through the undersigned

counsel, and sues Defendant, Directv, LLC, and in support thereof respectfully alleges

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                     INTRODUCTION

          1.       The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.       “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to

rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings

presumably intended to give telephone subscribers another option: “telling the auto-


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dialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th

Cir. 2014).

       4.        According    to   the   Federal   Communications    Commission      (FCC),

“Unwanted calls and texts are the number one complaint to the FCC.               There are

thousands of complaints to the FCC every month on both telemarketing and robocalls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

Wireless      Phones,   Federal    Communications     Commission,      (May    27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                              JURISDICTION AND VENUE

        5.       Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

        6.       Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

       7.        The alleged violations described herein occurred in Santa Rosa County,

Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),




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as it is the judicial district in which a substantial part of the events or omissions giving

rise to this action occurred.

                                FACTUAL ALLEGATIONS

        8.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

Santa Rosa County, Florida.

        9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

        10.     Defendant is a corporation which was formed in California with its

principal place of business located at 2260 E. Imperial Highway, Segundo, California

90245, and which conducts business in the State of Florida through its registered agent,

CT Corporation System, located at 1200 S. Pine Island Road, Plantation, Florida 33324.

        11.     Defendant called Plaintiff approximately one hundred (100) times in an

attempt to schedule an appointment to service Plaintiff’s satellite equipment.

        12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that he knew it was an

auto-dialer because of the vast number of calls he received and because he heard a pause




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or automated message when he answered his phone before a voice came on the line and

that he also received pre-recorded messages from Defendant.

       13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (850) ***-3700 and was the called party and recipient of Defendant’s calls.

       14.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

cellular telephone number (850) ***-3700 in an attempt to schedule an appointment for

services.

       15.     Since the calls began in mid-2017, Plaintiff has spoken to approximately

three different Defendant agents during inbound calls to his cellular telephone and has

asked each of them to please stop calling his cellular telephone number: (850) ***-3700.

       16.     Defendant has willfully and/or knowingly harassed and abused Plaintiff on

numerous occasions by calling Plaintiff's cellular telephone number up to four (4) times a

day, with such frequency as can reasonably be expected to harass, all in an effort related

to collection of the subject account.

       17.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

cellular telephone in this case.

       18.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, or Defendant, to remove the

number.




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        19.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

        20.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        21.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        22.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.

        23.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s cellular telephone number removed from Defendant’s call list.

        24.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        25.    Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        26.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        27.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.



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       28.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular telephone by unwelcome calls, making the cellular telephone

unavailable for legitimate callers or outgoing calls while the cellular telephone was

ringing from Defendant’s calls.

       29.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

his time. For calls he answered, the time he spent on the call was unnecessary as he

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the cellular telephone and deal with missed call notifications and call logs

that reflect the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular telephone, which are designed to inform the user of important missed

communications.

       30.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

cellular telephone and deal with missed call notifications and call logs that reflected the

unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

telephone, which are designed to inform the user of important missed communications.




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        31.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

        32.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space in

Plaintiff’s cellular telephone or network.

        33.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely his cellular telephone and his cellular telephone services.

        34.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by stress and

aggravation.

                                          COUNT I
                                   (Violation of the TCPA)

        35.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

thirty-four (34) as if fully set forth herein.

        36.      Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

        37.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or pre-recorded or

artificial voice without Plaintiff’s prior express consent in violation of federal law,

including 47 U.S.C § 227(b)(1)(A)(iii).


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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Directv, LLC, for statutory damages, punitive damages,

actual damages, treble damages, enjoinder from further violations of these parts and any

other such relief the court may deem just and proper.

                                             Respectfully submitted,



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